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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


                                           )       CASE NO. 1:11CR91
UNITED STATES OF AMERICA,                  )
                                           )
                      PLAINTIFF,           )       JUDGE SARA LIOI
                                           )
vs.                                        )
                                           )       OPINION AND ORDER
                                           )
JOSE MIGUEL CARDENAS,                      )
                                           )
                                           )
                     DEFENDANT.            )

               This matter is presently before the Court on defendant Jose Cardenas’s

motion to dismiss on speedy trial grounds. (Doc. No. 459.) The government has filed a

response, wherein it asks that the motion be denied on the merits. (Doc. No. 465.)

               On September 8, 2010, federal agents executed a search warrant on the

home of defendant Cardenas. Defendant remained at the home during the search and,

once the search concluded, was transported to a police station for photographing and

fingerprinting, after which he was released. No charges were issued against defendant on

September 8, 2010.

               The indictment in this case was filed March 8, 2011. (Doc. No. 1.)

Defendant maintains that he was arrested September 8, 2010, for the offenses charged in

the indictment and that the six-month gap between his alleged arrest and indictment

violates the Speedy Trial Act, 18 U.S.C. § 3161(b). Section 3161(b) provides in relevant

part that “[a]ny information or indictment charging an individual with the commission of
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an offense shall be filed within thirty days from the date on which such individual was

arrested or served with a summons in connection with such charges.”

                  The Sixth Circuit Court of Appeals has made a clear distinction between

the “ordinary, and constitutional” definition of “arrest” and the definition of “arrest” for

purposes of applying the Speedy Trial Act. U.S. v. Graef, 31 F.3d 362, 363–64 (6th Cir.

1994). In the context of § 3161(b), the “arrest ‘trigger’ applies only to arrests made either

on a complaint or which were immediately followed by a complaint.” 1 Id. at 364. See

also U.S. v. Salgado, 250 F.3d 438, 454 (6th Cir. 2001) (“A defendant is not ‘arrested’

for purposes of the Speedy Trial Act until formal federal charges are pending, that is,

when a formal complaint or charge is issued.”); U.S. v. Blackmon, 874 F.2d 378, 381 (6th

Cir. 1989), cert. denied, 493 U.S. 859 (1989) (“An ‘arrest’ [for purposes of the Speedy

Trial Act] refers to the point at which a defendant is charged with the crime; therefore, a

defendant is not ‘arrested’ until a formal complaint or formal charge is issued.”).

                  Defendant cites U.S. v. Osunde, 638 F. Supp. 171 (N.D. Cal. 1986), for the

proposition that the 30-day limitation period of § 3161(b) begins to run from the date a

defendant is first arrested, with or without charges. But Osunde is inapposite. In that case,

defendant Osunde was held in continuous federal custody without charge beginning on

the date of his arrest. Id. at 173. He was not indicted until 118 days after that arrest. Id.

Moreover, the Ninth Circuit Court of Appeals has since explicitly adopted the same

position as the Sixth Circuit, namely, that “a complaint must be issued at the time of


1
  In U.S. v. Garcia-Echaverria, the Sixth Circuit noted that it may become necessary to create an exception
to the criminal complaint trigger rule in “situations where there is evidence that collusion between
deportation and prosecution authorities led to a delay in filing formal charges and a simultaneous period of
prolonged detention.” 374 F.3d 440, 452 n.15 (6th Cir. 2004). But no such exception has yet been
announced and, regardless, would not apply in this case.
                                                      2
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arrest in order to trigger the [§ 3161(b)] 30-day limitation.” U.S. v. Boyd, 214 F.3d 1052,

1056 (9th Cir. 2000).

                Defendant offers no evidence that he was arrested on September 8, 2010.

But even if evidence were offered to show that the events of September 8, 2010,

constituted an arrest in the “ordinary” sense of the term, no formal complaint or charge

was issued at that time. 2 An arrest for purposes of applying the Speedy Trial Act,

therefore, did not occur, and the 30-day limitation found in § 3161(b) was not triggered.

                For the reasons set forth above, defendant’s motion to dismiss on speedy

trial grounds (Doc. No. 459) is DENIED.

                IT IS SO ORDERED.


Dated: September 8, 2011
                                                    HONORABLE SARA LIOI
                                                    UNITED STATES DISTRICT JUDGE




2
  Defendant also asserts that he received numerous “summons” between September 8, 2010, and his
indictment on March 8, 2011 (Doc. No. 459), yet no evidence has been produced indicating that any such
summonses were ever issued, nor is there any such indication on the docket.
                                                    3
